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				PUMMILL v. HANCOCK EXPLORATION LLC2014 OK 97Case Number: 111096Decided: 11/18/2014THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2014 OK 97, __ P.3d __

				


CHARLES PUMMILL AND CHRIS PARRISH, 
Plaintiffs/Appellees,v.HANCOCK EXPLORATION LLC; YALE OIL ASSOCIATION, 
INC.; CHEVRON USA, INC.; CIMAREX ENERGY CO. AND CIMAREX ENERGY CO. OF COLORADO, 
Defendants/Appellants.
CORRECTED ORDER
The appellants, Hancock Exploration L.L.C., Yale Oil Association, Inc., 
Cimarex Energy Co., and Cimarex Energy Co. of Colorado, petitioned for 
certiorari after the Court of Civil Appeals affirmed a judgment from the 
District Court of Grady County. The summary declaratory judgment consisted of 
four orders on four separate issues that the district court titled Exhibits I-IV 
and attached to its Journal Entry of Judgment filed September 4, 2012. These 
orders carried subtitles: "Summary Judgment Issue 1--Lease Language; Summary 
Judgment Issue II--Form of Contract; Summary Judgment Issue III--Fuel Gas; and 
Summary Judgment Issue IV--Interest. 
The appellants identified four issues in their appeal of the judgment of the 
district court: Issue 1. The express language of their leases does not abrogate 
or negate the implied covenant to market in any way; Issue 2: The current or 
future use of a POP, POI or any other form of contract, instead of a fee based 
agreement with Enogex, does not change the amount of royalties due under the 
leases; Issue 3. Appellants are entitled to receive royalties on gas used off 
the lease or in the manufacture of products at the gas plant; and Issue 4. 
Appellants owe interest on royalties not timely paid without prior demand from 
the royalty owners. 
The briefs filed and the oral argument held before this Court on November 5, 
2014, reveal that facts which could affect the resolution of the district court 
Issues I through III need to be addressed before the fact-finder, the district 
court. The parties at the oral argument affirmed that Issue IV was not 
contested. 
Accordingly, certiorari is granted. The opinion of the Court of Civil Appeals 
is vacated. The judgment of the district court is affirmed in part and reversed 
in part and remanded with instructions to hear and decide the disputed fact 
issues.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 17TH DAY OF NOVEMBER, 
2014.
/s/Chief Justice
CONCUR: COLBERT, C.J., REIF, V.C.J., KAUGER, WATT, WINCHESTER, TAYLOR, COMBS, 
GURICH, JJ.




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